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                           IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


NATALIA ANTONIO, as Personal Representative to
the Estate of RUBEN TOLEDO, deceased,

              Plaintiff,

v.
                                                                  No. 1:19-cv-00572 KG/JFR

BOARD OF COUNTY COMMISSIONERS FOR
THE COUNTY OF CIBOLA, ADRIANNE JARAMILLO,
LISA BURNSIDE, MICHAEL HILDEBRANDT,
AND MICHELLE LUCERO,

              Defendants.

     ORDER GRANTING STAY PROCEEDINGS PENDING OUTCOME OF COUNTY
            DEFENDANTS’ MOTION TO DISMISS (DOC. 47)

       THIS MATTER having come before the Court on the County Defendants’ Unopposed

Motion to Stay Proceedings Pending the Outcome of the County Defendants’ Motion to

Dismiss (Doc. 47), filed September 16, 2020 (Doc. 49), and the Court being fully advised in the

premises:

       HEREBY FINDS AND ORDERS that the County Defendants’ Motion to Stay pending

the outcome of the County Defendants’ Motion to Dismiss, is granted. Therefore, all deadlines

contained in the Court’s Amended Scheduling Order dated September 2, 2020 (Doc. 46), are

hereby vacated.




                                                  ___________________________________
                                                  UNITED STATES DISTRICT JUDGE
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Submitted by:


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Approved:

Approved via electronic mail September 16, 2020
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